                   Case 8-19-75660-ast                Doc 15   Filed 09/25/19        Entered 09/25/19 11:10:48


 Information to identify the case:
 Debtor 1              Donald J Cantalino                                           Social Security number or ITIN   xxx−xx−5258
                       First Name   Middle Name   Last Name                         EIN _ _−_ _ _ _ _ _ _
 Debtor 2              Lisa Cantalino                                               Social Security number or ITIN   xxx−xx−3754
 (Spouse, if filing)
                       First Name   Middle Name   Last Name                         EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court            Eastern District of New York
                                                                                    Date case filed for chapter 7 8/13/19
 Case number:          8−19−75660−ast




                                            NOTICE OF DISCOVERY OF ASSETS
NOTICE IS HEREBY GIVEN THAT:

It appeared from the schedules filed when the above case was initiated that there were no assets from which
dividends could be paid to creditors as indicated on the notice of meeting of creditors.

It now appears that payment of a dividend may be possible. Creditors must now file claims in order to share in any
distribution from the estate. Claims must be filed with the Clerk's Office at the location given below:
 UNITED STATES BANKRUPTCY COURT
 290 Federal Plaza
 Central Islip, NY 11722
Creditors who have previously filed a claim in this case need not file again. Claims must be filed on or before
December 24, 2019 .

A Proof of Claim form, "Official Form 410", can be obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any Bankruptcy Clerk's Office.

If you are an ECF account holder, proofs of claim may be filed over the Internet. If you are not a current ECF
account holder, you may file a proof of claim by going to the Court's website Electronic Filing of Proof of Claim
(ePOC) at http://www.nyeb.uscourts.gov/electronic−filing−proof−claim−epoc and select File a Claim (ePOC). This
application does not require a login and password. You can also file a proof of claim by CD−ROM/DVD or flash
drive and mail it to the address stated above.


 Dated: September 25, 2019


                                                                          For the Court, Robert A. Gavin, Jr., Clerk of Court




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